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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
_________________________________________x

JARRETT PAYNE, et al,

                    Plaintiffs,                20 Civ. 8924 (CM) (GWG)

      -against-

MAYOR BILL DE BLASIO, et al,

                    Defendants.

_________________________________________x

SAMIRA SIERRA, et al, individually and on
behalf of all others similarly situated,

                    Plaintiffs,                20 Civ. 10291 (CM) (GWG)

      -against-

CITY OF NEW YORK, et al,

                    Defendants.

_________________________________________x

CHARLES HENRY WOOD,


                    Plaintiff,                 20 Civ. 10541 (CM) (GWG)

      -against-

CITY OF NEW YORK, et al,

                  Defendants.
_________________________________________x
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_________________________________________x

PEOPLE OF THE STATE OF NEW YORK,

                       Plaintiff,                             21 Civ. 322 (CM) (GWG)

       -against-

CITY OF NEW YORK, et al,

                       Defendants.

_________________________________________x

ADAMA SOW, et al, individually and on behalf
of all others similarly situated,

                       Plaintiffs,                            21 Civ. 533 (CM) (GWG)

       -against-

CITY OF NEW YORK, et al,

                       Defendants.

_________________________________________x


                                              ORDER

McMahon, C.J.:

Following an initial pre-trial conference in these five related cases, the court enters the following:

     1. The five related cases listed above are hereby consolidated for pretrial purposes. All
filings will be made under the following caption:
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
___________________________________________________x

   In Re: New York City Policing During Summer 2020
   Demonstrations                                                    20 Civ. 8924 (CM)(GWG)

   ________________________________________________x

   This filing is related to

   ALL CASES or
   NAME OF CASE(S)
   ________________________________________________x

All filings must be made under Docket No. 20 Civ. 8924, which is the lowest-numbered case.

    2. The Defendants must provide a written notice to all Plaintiffs identifying any deficiencies
they perceive in the Monell claims as presently pleaded by close of business on Friday, February
26, 2021.

   3. Any amended complaint must be filed by close of business on March 5, 2021.

    4. The court has been advised that two parties are considering filing motions for leave to
intervene. Any motion for leave to intervene, by any party, must be filed by March 3, 2021;
responses due March 19, 2021; replies due March 26, 2021. Proposed intervenors will not
participate in discovery until the motions for leave to intervene are decided. If those motions are
made and granted, intervenors will have access to discovery as Judge Gorenstein deems
appropriate.

     5. On October 26, 2020 Towaki Komatsu, appearing pro se, filed a letter asking for leave to
intervene in Payne v. de Blasio, et al, No. 20-cv-8924 (Dkt. No. 11). The court interprets that
letter as a motion for leave to intervene. The Defendants and the Payne Plaintiffs shall respond
according to the above schedule for motions for leave to intervene.

   6. Motions to dismiss the complaints must be filed by close of business on March 26, 2021.
Responsive papers are due April 16, 2021. Replies are due April 30, 2021. No sur-replies will be
accepted; any issue that is raised for the first time in reply will not be considered.

   7. The court suspends its usual local rule requiring that any motion to dismiss on qualified
immunity grounds be filed within thirty days.

    8. The case is referred to The Hon. Gabriel W. Gorenstein for all pre-trial supervision other
than the motions to dismiss and for leave to intervene. Discovery will begin immediately and
will not be stayed pending decision on any motions to dismiss. All discovery must be completed
by December 31, 2021. If it is necessary to shorten periods for responding to discovery requests
in order to meet this deadline, that should be done.
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     9. “All discovery” means ALL discovery, including expert discovery, individual discovery
and Monell discovery. Potential class plaintiffs should be deposed by July 1, 2021, so that class
certification motions can be made no later than September 10, 2021. Experts must be designated
by July 1, 2021; expert reports must be exchanged by September 1, 2021; expert depositions
must be completed by the discovery deadline. Within these parameters, Judge Gorenstein will set
all deadlines, direct all activity and superintend and rule on all disputes.

   10. Any party who anticipates making a motion for summary judgment must notify the court
by November 15, 2021.


Dated: February 22, 2021




                                            ___________________________________
                                                        Chief Judge

BY ECF TO ALL PARTIES AND COUNSEL
